Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 1 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 2 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 3 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 4 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 5 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 6 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 7 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 8 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 9 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 10 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 11 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 12 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 13 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 14 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 15 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 16 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 17 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 18 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 19 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 20 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 21 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 22 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 23 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 24 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 25 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 26 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 27 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 28 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 29 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 30 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 31 of 40
Case 1:15-cv-00099-SPW   Document 33-2   Filed 10/03/16   Page 32 of 40
     Case 1:15-cv-00099-SPW              Document 33-2          Filed 10/03/16        Page 33 of 40



                                                                      Policy Number: 3-1 (Core Policy)
     YELLOWSTONE COUNTY
       SHERIFF’S OFFICE
                                                                              USE OF FORCE
          POLICY MANUAL

           Effective: 07/14/14                                               Sheriff Mike Linder


PURPOSE:
This policy recognizes that the use of force by law enforcement deputies requires constant evaluation.
Even at its lowest level, the use of force by law enforcement is a serious responsibility. The purpose of
this policy is to provide deputies of this Agency with guidelines on the reasonable use of force.

POLICY:
     I. Each use of force situation is unique and will be evaluated based on the circumstance faced by
        the deputy at the time force is applied. Deputies may use the amount of force, which is
        objectively reasonable to make an arrest or gain control of a situation. The application of force is
        not linear and may begin at or move to any level of force necessary based upon the actual or
        perceived threat to the deputy. As the situation that necessitated the use of force diminishes, so
        too shall the use of force. A deputy must be able to articulate why the level of force employed
        was reasonable and necessary.
    II. When deploying any force, for any reason, deputies shall exercise reasonable caution in order to
        avoid unnecessarily endangering the lives of bystanders. When possible, deputies should give
        consideration to background, bystanders, and location.




                                                 Deputy




                                                                                                      1059
 Case 1:15-cv-00099-SPW              Document 33-2           Filed 10/03/16        Page 34 of 40
                                                                                       3-1 Use of Force


                    (d)      Off duty carry of Taser. Carrying the Taser off duty is prohibited.

VI.    Use of Force Continuum: Deadly Force
       A.   A deputy is justified in the use of force likely to cause death or serious bodily harm only if
            the deputy reasonably believes that such force is necessary to prevent imminent death or
            serious bodily harm to the deputy or another or to prevent the commission of a forcible
            felony.
       B.   The use of deadly force against a "fleeing felon":
            1. Deputies may use deadly force to effect the capture or prevent the escape of a felony
               suspect whose flight is reasonably believed to represent an imminent threat of
               serious bodily harm or death to the deputies or other person(s).
       C.   Whenever feasible, before using deadly force, deputies should identify themselves and
            give instructions. For example: A deputy challenges a suspect by shouting; “Police, don’t
            move”.
       D.   A deputy may also discharge a weapon under the following circumstances:
            1. During range practice or competitive sporting events.
            2. To destroy an animal that represents a threat to public safety, or as a humanitarian
               measure where the animal is seriously injured.
       E.   Deputies shall adhere to the following restrictions when their weapon is exhibited:
            1. Except for maintenance or during training, deputies shall not draw or exhibit their
               firearm unless circumstances create reasonable cause to believe that it may be
               necessary to use the weapon in conformance with this policy.
            2. Deputies will not fire warning shots.
            3. Deputies may discharge a firearm at a moving vehicle or from a moving vehicle if it is
               necessary to do so to protect against an imminent threat of serious bodily harm or
               death to the deputies or others.
                a. This provision shall not preclude tactical responses in a S.W.A.T. operation by its
                   members.
       F.   A patrol vehicle is a law enforcement tool, which is capable of inflicting serious injury or
            death when used as an offensive weapon. Therefore, its use should be considered in the
            same light as any use of deadly force.
VII.   Deputy Involved Shooting / Deadly Force Procedures:
       A.   Intentional Shooting / Use of Deadly Force:
            1. Deputy Responsibilities:
                a. Deputies involved in the use of deadly physical force, on or off-duty, shall
                   immediately notify a supervisor. If the member is off-duty and outside
                   Yellowstone County when the use of deadly force occurred, the member shall
                   also notify the agency with jurisdiction for investigation of the incident.
                b. Ensure that the threat from the suspect has been stopped. This includes, but is
                   not limited to handcuffing or otherwise securing the suspect(s).
                c. Determine the physical condition of any injured person, summon EMS, and
                   render aid when appropriate and safe to do so.
                d. Secure the incident scene, establish a perimeter, and act to protect all physical
                   evidence in its original location if possible.




                                                                                                   1064
Case 1:15-cv-00099-SPW           Document 33-2          Filed 10/03/16        Page 35 of 40
                                                                                       3-2 Firearms


            b. Six (6) rifled slug shells in the side saddle
            c.   Chamber empty, slide free (hammer down), safety off.
   C.   Patrol Rifles:
        1. An AR-15 rifle owned by YCSO will be issued on a voluntary basis to individual
           deputies in the Patrol Division. Deputies will no longer be allowed to carry an
           individual purchased patrol rifle.
        2. The patrol rifle make, model, serial number, caliber and deputy issued to will be
           recorded with the Administrative Coordinator or designee of the Sheriff.
        3. Deputies will be required to maintain and qualify annually with the issued patrol rifle.
           Failure to properly maintain or failure to qualify with patrol rifle will result in loss of
           issued rifle.
            a. Deputies will periodically test weapon mounted light for function. Deputies will be
               required to maintain and replace batteries if needed.
            b. Patrol rifles will be checked during vehicle inspections
        4. The following items will be issued with each patrol rifle:
            a. (1) 2 point sling: Blue Force Gear
            b. (1) Weapon mounted flashlight: Streamlight HP
            c.   (2) 30 round AR-15 magazines
            d. 100 rounds duty V-Max ammunition
            e. (1) hard side carry case
        5. Deputies will keep patrol rifle secured in patrol vehicle at all times unless being
           deployed on a call or for training. The rifle will be kept secured inside the dual gun
           mount in patrol vehicles equipped with mount or secured in hard case in trunk of
           patrol car not equipped with mount.
            a. Deputies without a take home car will keep their issued rifle in their dept.
               assigned locker at the briefing room on scheduled days off. The locker must be
               kept locked when securing the rifle. Rifles will not be left in take home patrol
               vehicles for extended periods of time, (vacation, light duty, administrative leave).
               The rifle should be secured in briefing room locker if not on shift, exception TRT
               members.
        6. Patrol rifles will be kept in “cruiser safe” condition. Cruiser safe condition is defined
           as the following: bolt forward on an empty chamber, hammer released, safety off and
           a fully loaded magazine inserted into rifle. The rifle will be kept in cruiser safe
           condition until necessary to deploy on a call.
        7. Deputies should utilize discretion and good judgment when deploying the patrol rifle.
           The rifle is a tool that allows a tactical advantage to the deputy not available with the
           shotgun or handgun. Possible circumstances that may dictate deploying the patrol
           rifle are but not limited to:
            a. Felony stops
            b. Armed barricaded suspect(s), inner perimeter use
            c.   Area searches for armed suspect(s)
            d. Patrol rifles should not be deployed for routine circumstances not involving
               weapons.
            e. Dispatching injured wildlife
        8. Deputies will be responsible for maintaining the issued patrol rifle. Deputies are
           trained in proper maintenance in Basic Patrol Rifle class and are allowed to field strip


                                                                                               1069
     Case 1:15-cv-00099-SPW              Document 33-2          Filed 10/03/16           Page 36 of 40



                                                                       Policy Number: 3-3 (Core Policy)
     YELLOWSTONE COUNTY
       SHERIFF’S OFFICE                                                EMERGENCY RESPONSE AND
                                                                          VEHICULAR PURSUIT
          POLICY MANUAL

           Effective: 9-13-10                                                 Sheriff Mike Linder


PURPOSE:
To provide guidelines for the pursuit, and apprehension of fleeing violators, and the effective operation of
agency vehicles during emergency conditions.

POLICY:
Emergency operations of agency vehicles will be conducted in accordance with Montana Code Annotated
and policy. Office members are expected to use reasonable judgment and prudent conduct with due
regard for their safety and the safety of all persons and property while engaged in emergency vehicle
operations.

PROCEDURE:
    I.    Emergency Response:
          A.    61-8-107 MCA. Police vehicles and authorized emergency vehicles.
                1. The driver of a patrol vehicle or authorized emergency vehicle, when responding to
                   an emergency call or when in the pursuit of an actual or suspected violator of the law
                   or when responding to but not upon returning from a fire alarm, may exercise the
                   privileges set forth in this section, but subject to the conditions herein stated.
                2. The driver of a patrol vehicle or authorized emergency vehicle may:
                     a. Park or stand, irrespective of the provisions of this chapter;
                     b. Proceed past a red or stop signal or stop sign, but only after slowing down as
                        may be necessary for safe operation;
                     c.   Exceed the speed limits so long as he/she does not endanger life or property;
                     d. Disregard regulations governing direction of movement or turning in specified
                        directions.
                3. The exemptions granted to a police vehicle or authorized emergency vehicle apply
                   only when the vehicle is making use of an audible or visual signal, or both, meeting
                   the requirements of 61-9-402 MCA.
                4. The foregoing provisions shall not relieve the driver of a patrol vehicle or authorized
                   emergency vehicle from the duty to drive with due regard for the safety of all persons,
                   nor shall such provisions protect the driver from consequences of his/her reckless
                   disregard for the safety of others.
                5. The burden of responsibility rests solely with the driver of a patrol vehicle or
                   authorized emergency vehicle to exercise good judgment and care with regard to the
                   safety of lives and property.
          B.    Response Codes and Response:
                1. Code 1 -- Units will respond without the use of emergency lights or siren and in
                   compliance with all traffic regulations.




                                                                                                      1075
 Case 1:15-cv-00099-SPW                Document 33-2           Filed 10/03/16       Page 37 of 40
                                                      3-3 Emergency Response and Vehicular Pursuit


              2. Code 2 -- Unit(s) will respond using their emergency lights and/or siren, as required by
                 traffic conditions.
              3. Code 3 – will consist of use of lights and siren during emergency.
              4. Depending on the type of call and information available, response will be Code 1
                 unless at the deputy’s discretion he utilizes a greater level of signaling.
        C.    Significant Factors:
              1. When driving in the Code 2 or Code 3 mode, deputies must evaluate their response,
                 keeping in mind the same considerations used in pursuit situations. Deputies will
                 regulate their response to any call so as not to unreasonably endanger the public
                 safety or welfare.
II.     Vehicular Pursuit:
       A.     A vehicle pursuit is an active attempt by law enforcement officers to apprehend a suspect
              who refuses to voluntarily comply with the law requiring drivers to stop or yield upon the
              immediate approach of an emergency vehicle exhibiting emergency lights and siren.
       B.     As in all police activities, concern must be exercised for the rights and safety of other
              persons who may be endangered by pursuit driving. Pursuit is justified only when an
              officers knows or has reasonable cause to believe:

       C.    The suspect presents a clear and immediate threat to the safety of other motorists;

       D.    The suspect has committed or is attempting to commit a forcible felony;

       E.    The necessity of immediate apprehension outweighs the level of danger created by the
              pursuit as in the case of a serious traffic violation such as reckless driving or driving
              under the influence of alcohol or drugs.

        F.    All pursuit driving will be conducted within the guidelines of this statement of policy and
              procedure which is designed to promote good judgment and sound discretion. All
              deputies have a duty to obey all relevant traffic laws, criminal statute and Office orders
              regarding the operation of vehicles.

III.    Initiating Pursuit
       A.     The responsibility for the decision to initiate a pursuit rests with the individual deputy in
               the initial pursuing unit.
       B.     Evaluating the circumstances, the pursuing deputy must constantly consider the risks
               created by the pursuit and should not needlessly endanger other persons.
       C.     Some of the factors to be considered when determining to initiate, continue, or terminate
               a pursuit are:

               1.    The nature of the violation that led to the pursuit.

               2.    Status of occupants of the vehicle or other involved persons.

               3.    Time of Day: Pursuits occurring during a time when there is a high level of
                     business school or other activity are deemed as more hazardous then those
                     occurring at other times.

               4.     Volume of Traffic: Pursuits occurring during periods of heavy traffic flow are
                      deemed more hazardous than those occurring at other times.

                5.    Location of Pursuit: Special emphasis must be placed on the locality of the
                      pursuit such as school areas and parks.




                                                                                                     1076
Case 1:15-cv-00099-SPW                Document 33-2          Filed 10/03/16        Page 38 of 40
                                                    3-3 Emergency Response and Vehicular Pursuit


               6.    Road and weather conditions.

               7.    Capabilities of pursuit vehicles and drivers.

               8.    Speeds involved.

               9.    Other law enforcement assistance.

              10.     Length of the pursuit.

      D.    Upon initiating a pursuit, deputies will immediately activate emergency lights, headlights
             and siren.

              1.     The deputy will then notify Dispatch that he or she is in pursuit and give the
                     following information.
                     a.      Description of the suspect vehicle and license plate, if known,
                     b.      Reason for the pursuit,
                     c.      Number of occupants,
                     d.      Location, direction of travel, and estimated speed,
                     e.      Request for assistance, if needed,
                      f.     Each additional change of direction and other situation changers.

      E.    Dispatchers will:
             1.     Immediately clear the frequency and advise all other units of the emergency in
                     progress.
             2.     Notify the shift supervisor of the pursuit.
             3.     Log times, locations, and other information that is broadcast by the involved
                     officer(s).

              4.     Make the necessary notations on the complaint/dispatch form to insure easy
                     identification and retrieval of the radio transmission tapes pertaining to the
                     pursuit.

       F.    Pursuit Restrictions
             1.       Deputies may not pursue suspects the wrong way on divided or controlled
                      access highways.
             2.       Deputies will not become involved in a pursuit if there are non-law
                      enforcement personnel in his/her car.
             3.       Pursuit in an unmarked car is not authorized.

              4.      In the course of pursuit, direct contact between vehicles or forcing the
                      pursued vehicle into parked cars, ditches, or any other obstacle, boxing in,
                      heading off, ramming, or driving alongside the pursued vehicle while it is in
                      motion will be Prohibited, unless such actions are specifically authorized by a
                      commander or supervisory officer or are justified when the use of deadly force
                      would be authorized. Reckless or hazardous driving maneuvers will not be
                      duplicated by pursuing officers.

IV.    Assisting Units
       A.    Only the unit initiating the pursuit and the assigned secondary unit will pursue the
               suspect vehicle. No more than two units will be involved in the actual pursuit unless
               authorized to do so by the supervisory officer on duty.
       B.     Other units close to the pursuit should attempt to position themselves at strategic
               points to assist the pursuing unit in the event the suspect vehicle is stopped or if the
               original pursuing deputy loses contact with the suspect vehicle. Under no




                                                                                                      1077
 Case 1:15-cv-00099-SPW                     Document 33-2           Filed 10/03/16         Page 39 of 40
                                                           3-3 Emergency Response and Vehicular Pursuit


                  circumstances will units other than the assigned primary and secondary units engage
                  in high speed paralleling of the pursuit.
       C.         Once involved, the assisting, or secondary unit will advise Dispatch of direction and
                  situational changes, thus relieving the primary pursing unit of that responsibility.
       D.         The secondary unit will maintain a safe distance behind the primary unit but be close
                  enough to provide backup assistance if, and when, required.
       E.        Assisting units will, at all costs avoid intersecting the path of an oncoming vehicle.
       F.        If the primary unit becomes disabled the assisting unit will become the primary unit.
                  The next closest available unit will assume the responsibilities of the assisting unit.

  V.   Supervisory Responsibility
       A.    Commanding officers will insure that all deputies receive appropriate training in the
             policy and procedure relating to pursuits.
       B.    Shift supervisors, when notified of a pursuit by dispatch, will:

                 1.        Direct the pursuit and approve or order alternative tactics and maintain control
                           until the pursuit is terminated. In the absence of adequate information from the
                           primary or backup unit, the supervisor may order termination of the pursuit. It is
                           not necessary for the supervisor to be physically present in order to begin
                           coordination and assert control of the pursuit.

       C.        The supervisor may, at his or her discretion:
                  1. Terminate the pursuit when, in his or her judgment, the necessity of immediate
                       apprehension or the risk of the pursuit is outweighed by the level of danger
                       involve.
                       a.    Order specific units into or out of the pursuit.
                       b.    Authorize roadblocks as a last resort.

VI.     Abandoning Pursuits
        A.  Pursuits will be terminated under any of the following circumstances:
               1. The suspect vehicle stops voluntarily or becomes disabled.

                      2.    The necessity of immediate apprehension or the risk of the pursuit is
                             outweighed by the level of danger involved.
                      3.    The identity of the suspect has been established to a point that later
                             apprehension can be accomplished and there is no longer a need for
                             immediate apprehension.
                      4.     The prevailing traffic, roadway and environmental conditions indicate the
                             futility of continued pursuit.

                      5.     The pursued vehicle’s location is no longer known.

            B.   The termination of a pursuit does not prohibit the following of a vehicle at a safe speed
                 or remaining in an area to re-initiate pursuit if the opportunity and conditions permit.

VII.   Emergency Roadblocks to Apprehend Suspects
       A. All deputies must consider barricading a roadway as a force likely to cause death. It
            should be used only after other reasonable alternatives have been exhausted.
       B.  Roadblocks will only be used in life and death situations, unless such actions are
            specifically authorized by the Sheriff or Undersheriff, or are justified when the use of
            deadly force would be authorized.
       C.  In the event the establishment of a roadblock is deemed necessary, deputies must
               consider the following:

                      1.     A location that will provide good visibility to all oncoming traffic.




                                                                                                       1078
 Case 1:15-cv-00099-SPW              Document 33-2            Filed 10/03/16         Page 40 of 40
                                                    3-3 Emergency Response and Vehicular Pursuit


                 2.    Only marked patrol units will be used in the roadblock and emergency lights
                        will be activated on these units.

                 3.    When the marked units are placed in position, it is preferable they will be
                       parked at such an angle that they reveal the Sheriff’s office emblem on the
                       door to oncoming traffic.

                 4.    All units will be parked to avoid the line of fire from other officers.

                 5.    All deputies at the roadblock will remain outside their units. A communications
                       officer will be designated to coordinate information between the pursing
                       deputies and deputies either at the roadblock or responding to the scene.

                 6.    Patrol units should allow adequate space to permit the innocent public easy
                       access in and out of the roadblock scene.

                 7.    All due caution will be exercised when a vehicle matching that of the suspect
                       vehicle either approaches or stops at the scene. The occupants will be
                       identified following high-risk stop procedures.

                 8.    Firearms safety is a critical issue and deputies will comply with all of the
                       requirements set forth in this manual regarding use of firearms.

        D. Dispatch must notify all other local agencies of the existence of the roadblock. At the
                completion of the roadblock, a second notification will be made to advise that it has
                been deactivated.

         INTER-JURISDICTIONAL PURSUITS

VIII.   PURSUITS INITIATED BY DEPUTIES

         A.      In the event that a pursuit proceeds toward another jurisdiction, units involved
                 should switch to the State Common Mutual Aid frequency. This frequency is known
                 as the “Gold” channel.

           B.    The Dispatch will notify the other jurisdiction that the pursuit is heading toward their
                 jurisdiction and that our deputies are transmitting on the State Common Mutual Aid
                 frequency and ask the location of the other jurisdiction’s patrol units. Based on the
                 information from the primary pursuit unit, the dispatcher will specify to the other
                 jurisdiction that:

                 1.    The call is a courtesy notification with no participation requested from the
                       other jurisdiction, or

                  2.    The call is a request for assistance.

           C. Because of the concurrent jurisdiction of the Sheriff’s Office throughout the County,
              pursuits initiated by them will be handled by them until the pursuit is terminated, or
              leaves Yellowstone County and the responsibility of the pursuit is assumed by
              another agency. At that point, pursuing deputies will defer the pursuit to that
              jurisdiction.

IX.     Pursuits Initiated by Another Jurisdiction




                                                                                                      1079
